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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION




DANIEL COPPERNOLL, JR.,

             Plaintiff,                                FILE NO. 5:06-CV-120

v.                                                     HON. ROBERT HOLMES BELL

CUSTOM HOUSING CENTER, INC., et al.,

           Defendants.
______________________________________/

                                       OPINION

      Plaintiff Daniel Coppernoll, Jr., filed the instant action raising a claim under the

Magnuson-Moss Warranty Act ("MMWA"), 15 U.S.C. § 2301 et seq., and numerous state-

law claims. The matter presently is before the Court on a motion for partial summary

judgment on the federal claim and to dismiss the remaining state-law claims brought by

Defendants Custom Housing Center, Inc. ("Custom"), Indiana Building Systems, LLC

("iBS"), and Gloria Whitelock (Docket #16). For the reasons that follow, the motion is

granted.

                                           I.

      The allegations of the complaint arise out of Plaintiff's purchase from Defendants

Custom and Whitelock of a modular home manufactured by Defendant iBS. The modular

home was installed on a building site in Hanover, Michigan, by Custom. Whitelock is the

President of Custom.
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       The complaint alleges that the home actually installed differed from that ordered by

Plaintiff in that its layout was reversed from that ordered, and the color, price, quality and

interior design were different. Plaintiff also alleges that the home had substantial interior and

exterior damage on installation, including problems with the ceiling, carpeting, doors,

electrical wiring, floors, hot water heater, foundation, furnace, gutters, plumbing, roof, siding

and ventilation. In addition, Plaintiff contends that Defendants Whitelock and Custom

charged him $30,000 above the purchase price for installation and repairs, though they did

not have written contracts for the overages.

       Plaintiff raises eleven counts in his complaint: (1) breach of contract; (2) breach of

express and implied warranties under M ICH. C OMP. L AWS § 440.2314; (3) revocation of

acceptance; (4) violation of the Uniform Mobile Homes Warranty Act, M ICH. C OMP. L AWS

§ 125.991 et seq.; (5) violation of the MMWA, 15 U.S.C. § 2301 et seq.; (6) violation of the

Michigan Consumer Protection Act, M ICH. C OMP. L AWS § 445.901 et seq.; (7) violation of

Michigan's Occupational Code: Residential Builders and Contractors, M ICH. C OMP. L AWS

§ 339.2401 et seq.; (8) misrepresentation; (9) innocent misrepresentation; (10) exemplary

damages; and (11) specific performance of the purchase agreement.

       Defendants have moved for summary judgment on Plaintiff's federal claim under the

MMWA. Defendants also seek dismissal of the supplemental state-law claims under 28

U.S.C. § 1367.




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                                              II.

       On a motion for summary judgment, a court must consider all pleadings, depositions,

affidavits and admissions and draw all justifiable inferences in favor of the party opposing

the motion. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587

(1986). The court, however, "'need not accept as true legal conclusions or unwarranted

factual inferences.'" Michigan Paytel Joint Venture v. City of Detroit, 287 F.3d 527, 533 (6th

Cir. 2002) (quoting Morgan v. Church's Fried Chicken, 829 F.2d 10, 12 (6th Cir. 1987)).

The party moving for summary judgment has the burden of pointing the court to the absence

of evidence in support of some essential element of the opponent's case. Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986); Street v. J.C. Bradford & Co., 886 F.2d 1472, 1479 (6th

Cir. 1989).   Once the moving party has made such a showing, the burden is on the

nonmoving party to demonstrate the existence of a genuine issue for trial. Id. Summary

judgment is appropriate when the record reveals that there are no genuine issues as to any

material fact in dispute and the moving party is entitled to judgment as a matter of law. F ED.

R. C IV. P. 56(c); Kocak v. Community Health Partners of Ohio, Inc., 400 F.3d 466, 468 (6th

Cir. 2005).

       In order to prove that a triable issue exists, the nonmoving party must do more than

rely upon allegations, but must come forward with specific facts in support of his or her

claim. Celotex, 477 U.S. at 322; Mulhall v. Ashcroft, 287 F.3d 543, 550 (6th Cir. 2002). A

party opposing a motion for summary judgment "may not merely recite the incantation,

'Credibility,' and have a trial in the hope that a jury may disbelieve factually uncontested


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proof." Fogerty v. MGM Group Holdings Corp., Inc., 379 F.3d 348, 353 (6th Cir. 2004)

(quoting Curl Int'l Bus. Machs. Corp., 517 F.2d 212, 214 (5th Cir. 1975)). After reviewing

the whole record, the court must determine "whether the evidence presents a sufficient

disagreement to require submission to a jury or whether it is so one-sided that one party must

prevail as a matter of law." Booker v. Brown & Williamson Tobacco Co., Inc., 879 F.2d

1304, 1310 (6th Cir. 1989) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52

(1986)). "'[D]iscredited testimony is not [normally] considered a sufficient basis'" for

defeating the motion. Anderson, 477 U.S. at 256-57 (quoting Bose Corp. v. Consumers

Union of United States, Inc., 466 U.S. 485, 512 (1984)). In addition, where the factual

context makes a party's claim implausible, that party must come forward with more

persuasive evidence demonstrating a genuine issue for trial. Celotex, 477 U.S. at 323-24;

Matsushita, 475 U.S. at 586-87; Street, 886 F.2d at 1480. "A mere scintilla of evidence is

insufficient; 'there must be evidence on which a jury could reasonably find for the [non-

movant].'" Daniels v. Woodside, 396 F.3d 730, 734 (6th Cir. 2005) (quoting Anderson, 477

U.S. at 252).

                                             III.

       A.       MMWA

       The MMWA provides for the issuance of rules governing the contents of warranties

of consumer products. 15 U.S.C. § 2302. The term "consumer product" is defined under the

MMWA as follows:



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       [A]ny tangible personal property which is distributed in commerce and which
       is normally used for personal, family, or household purposes (including any
       such property intended to be attached to or installed in any real property
       without regard to whether it is so attached or installed).

15 U.S.C. § 2301(1). Under the provisions of the MMWA, the Federal Trade Commission

("FTC") is required to prescribe rules mandating that the terms of any written warranty be

made available to the consumer prior to any sale and prohibiting a warrantor from

conditioning the warranty on the use of a particular product. 15 U.S.C. §§ 2302(b)(1)(A),

2302(c). The FTC also is authorized to establish rules for determining the manner and form

in which such warranty is presented or displayed and for extending the warranty period in

certain circumstances. 15 U.S.C. §§ 2302(b)(1)(B), 2302(b)(3), 2302(c).

       Defendants argue that a modular home is not a consumer product within the meaning

of the MMWA. The issue of whether a modular or prefabricated home is a consumer product

has been addressed by very few courts. In Clark v. Jim Walter Homes, Inc., 719 F. Supp.

1037 (M.D. Ala. 1989), the district court concluded that modular or prefabricated stationary

houses do not constitute personal property amounting to a consumer good. Id. at 1043. The

court recognized that, in drafting the MMWA, Congress used terms with well established

meanings in traditional property law, such as "personal property" and "real property." Id.

The term "consumer products" under the statute includes only personal property. Id.

       Under standard property law, in contrast, "[d]wellings in general, like the land to

which they are attached, fall into the category of real property as that term is commonly used

in property law." Id. (citing 73 C.J.S. Property § 14 at 183-84 (1983); B LACK'S L AW


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D ICTIONARY 1096 (5th ed. 1979) (defining real property as "Land and generally whatever is

erected . . . upon or affixed to land")). By using those terms without providing an alternate

definition, the Clark court reasoned that Congress intended the terms to have their common

meanings. As a result, the court found that the plain language of the statute supported the

conclusion that sales of dwellings were not covered by the MMWA. Id.

       The Clark court also concluded that the reading was consistent with legislative history

expressly including certain consumer products that could become attached to real property,

which would be considered fixtures under traditional property law. Id. (citing H. R EP. N O.

1107, 93d Cong., 2d Sess., reprinted in 1974 U.S. C ODE C ONG. & A DMIN. N EWS 7702,

7717). The court reasoned that the specific identification as consumer products of certain

items that could otherwise become fixtures suggested that Congress did not intend to include

the dwelling to which they are attached as a consumer product. Id. Further, the FTC has

adopted regulations that reinforce this conclusion:

       In the case where a consumer contracts with a builder to construct a
       home, . . . the building materials to be used are not consumer products.
       Although the materials are separately identifiable at the time the contract is
       made, it is the intention of the parties to contract for the construction of realty
       which will integrate the component materials.

16 C.F.R. § 700.1(f).

       In reaching its decision that modular homes are not governed by the MMWA, the

Clark court relied upon Kravitz v. Homeowners Warranty Corp., 542 F. Supp. 317, 321-22

(D. Pa. 1982). In Kravitz, the court analyzed the probable inapplicability of the MMWA to

modular housing, though the court ultimately did not need to decide the issue.

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       Since Clark, no court has reached a contrary decision.1 However, several courts have

discussed the Clark decision with approval, distinguishing mobile or manufactured homes

from modular homes. In re Van Blarcum, 19 S.W.3d 484, 491-92 (Tex. Ct. App. 2000);

Yeomans v. Homes of Legend, Inc., No. 00-D-824-N, 2001 WL 237313, at *5 (M.D. Ala.

Mar. 5, 2001). As those courts have recognized, "[u]nlike a prefabricated home that is

stationary once attached to land, a mobile home by its very nature is a movable dwelling."

Van Blarcum, 19 S.W.2d at 492.

       The FTC also has addressed the issue in an advisory opinion. See FTC Advisory

Opinion, 90 F.T.C. 980, 981 (1977). The FTC determined that

               A modular house which meets one of the sets of uniform home
       construction codes set forth in the appendix to this letter or a construction
       standard established by a state for modular homes, as distinct from mobile
       homes as they are defined by the state, is real property and should, therefore,
       be excluded from the Section 101(1) definition of 'consumer product.' The sets
       of uniform codes are widely used in the construction of conventional, 'stick-
       built' homes, which are real property. These codes are usually the basis for any
       distinct state modular housing codes. Thus, a factory built house which
       satisfies one of these sets of codes or a separate state modular code is
       essentially of the nature of real property and should, therefore, be excluded
       from coverage of the Act. On the other hand, a factory built dwelling that fails
       to satisfy one of the specified sets of codes or a separate state modular code
       must comply with the requirements of the Act.



       1
        Plaintiff cites Rickard v. Teynor's Homes, Inc., 279 F. Supp. 2d 910 (N.D. Ohio
2003), to support his contention that modular homes fall within the meaning of the MMWA.
In Rickard, the court found that the MMWA precluded enforcement of binding arbitration
on a buyer's claims against the seller of a modular home. In Rickard, however, the parties
did not contest whether the MMWA applied to modular homes. The issue therefore was not
before the Rickard court and was not decided by that court. As a result, the decision does not
provide authority for Plaintiff's position.

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Id. Defendants have provided the affidavit of John P. Guequierre, Chief Executive Officer

of iBS. According to Guequierre,

       The Plaintiff's modular home is, in essence, a prefabricated home that was
       manufactured by IBS in accordance with the residential building codes of the
       State of Michigan, namely the 2003 Michigan Residential Code and the 2003
       Michigan Plumbing Code. These are the same building codes applicable to
       site-built homes in the State of Michigan.

(Guequierre Aff. ¶ 4, docket #18.) Defendants argue that, because the modular home was

manufactured in accordance with the relevant Michigan building codes, under the FTC

Advisory Opinion, the home does not fall under the MMWA.

       Plaintiff first asserts that the opinion letter is not binding and therefore should not be

relied upon by this Court. In the alternative, he argues that the advisory opinion actually

supports his position, since the home allegedly fails to meet building codes.

       An agency advisory opinion is not binding, but "it is worthy of 'some deference.'"

Bank of New York v. Janowick, 470 F.3d 264, 269 (6th Cir. 2006) (quoting Christensen v.

Harris County, 529 U.S. 576, 587 (2000)); see also Caremark, Inc. v. Goetz, 480 F.3d 779,

787 (6th Cir. 2007). "Interpretive guidance from administrative agencies that is not the

product of formal, notice-and-comment rulemaking is entitled to respect 'to the extent that

the interpretations have the power to persuade.'" Id. (quoting Christensen, 529 U.S. at 587

(quoting Skidmore v. Swift & Co., 323 U.S. 134 (1944))).

       The Court finds the Advisory Opinion to be persuasive only insofar as it is correctly

interpreted. The language of the Advisory Opinion suggesting that coverage under the

MMWA turns on whether the modular home meets building codes can be interpreted in two

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ways. First, the language may be interpreted as an inquiry into whether modular homes are

built and governed by state residential building codes or the building codes identified in the

appendix to the letter.2 Second, the language may be read to extend coverage under the

MMWA to any modular home if the Plaintiff can make an arguable claim that some defect

qualifies as a building code violation.

       Only the first of these interpretations is reasonable. The determination as to whether

the modular home is a consumer product under the MMWA cannot turn on whether the

specific home ultimately is found to have a defect in manufacture. The question instead must

involve whether residential building codes govern the construction and approval of modular

homes. Modular homes are distinct from manufactured or mobile homes. Manufactured

homes are built in accordance with the federal Manufactured Housing and Construction

Safety Standards Act and the implementing regulations adopted by the United States

Department of Housing and Urban Development. (Guequierre Aff. ¶ 6, docket #18.) See

also 42 U.S.C. § 5401 et seq. In Michigan, they are separately governed by the Uniform

Mobile Homes Warranty Act, M ICH. C OMP. L AWS § 125.991 et seq. Modular homes, in

contrast, ordinarily are subject to state building codes. The Advisory Opinion language

reasonably construes the question of whether modular homes are covered by the MMWA as



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        Among the codes identified in the appendix to the Advisory Opinion was the BOCA
Basic Building Code, which Michigan used at the time the Advisory Opinion was issued in
1977. Since that time, that code and the others listed in the appendix have been combined
into one code, the international residential code. Michigan's Residential Building Code is
now based on the international residential code. See M ICH. C OMP. L AWS § 125.1504(2).

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dependent on whether they are regulated by residential building codes. If governed by state

building codes, modular homes, like stick-built homes, are properly considered real property.

       Here, Plaintiff fails to demonstrate a genuine issue of material fact as to whether

modular homes are subject to state building codes. The affidavit of John Guequierre

unequivocally states that Plaintiff's modular home was built in accordance with state

residential codes. While Plaintiff alleges in his affidavit that he has personal knowledge that

the home, as installed, did not meet state building codes, his averment is irrelevant. Even

assuming that Plaintiff has the relevant expertise to make that determination, he does not

assert that the home is not governed by the building codes. The affidavit and incorporated

report of Plaintiff's proposed expert, Ronald Tyson, is equally unavailing. At no time does

Tyson indicate that the home was not subject to Michigan building codes. Indeed, to the

extent Tyson's report addresses specific deficiencies in construction as opposed to expected

performance under the contract, the report discusses those deficiencies in relation to the

residential building codes.3

       For all these reasons, the Court concludes that the modular home is not a consumer

product within the meaning of the MMWA.



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        Defendants have filed motions to strike both the original and supplemental affidavits
(Docket ## 24, 29) submitted by Plaintiff and Ronald Tyson. The Court has considered the
affidavits for what they are worth, giving the appropriate weight to averments that are based
on personal knowledge and expertise and ignoring those averments that are based on hearsay
or lack the requisite foundation. Because the affidavits are of little relevance and because
the Court is fully able to determine the foundation and hearsay content of every allegation
independently, the Court will deny the motions to strike (Docket ##24, 29).

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        B.     State-Law Claims

        The majority of Plaintiff's claims are grounded in state law. Having determined that

summary judgment is appropriate on the only federal claim, this Court declines to exercise

supplemental jurisdiction over the remaining claims. Where a district court has exercised

jurisdiction over a state-law claim solely by virtue of supplemental jurisdiction and the

federal claims are dismissed prior to trial, the state law claims should be dismissed without

reaching their merits. See Landefeld v. Marion Gen. Hosp., Inc., 994 F.2d 1178, 1182 (6th

Cir. 1993); Faughender v. City of North Olmsted, 927 F.2d 909, 917 (6th Cir. 1991);

Coleman v. Huff, No. 97-1916, 1998 WL 476226, at *1 (6th Cir. Aug. 3, 1998). Dismissal

is particularly appropriate in the instant case, inasmuch as Plaintiff concedes that he

contractually agreed to litigate any claims in Ionia County Circuit Court. Accordingly,

Plaintiff’s state law claims are dismissed without prejudice.

                                            IV.

        For the foregoing reasons, the Court will grant Defendants' motion for partial

summary judgment and to dismiss. A judgment consistent with this opinion shall be entered.




Date:        May 18, 2007                  /s/ Robert Holmes Bell
                                           ROBERT HOLMES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE




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